Case No. 1:08-cv-01746-LTB Document 1-1 filed 08/15/08 USDC Colorado pgiof1
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor su
by local rules of court, ‘This form, approved by the Judicial Conference of the United
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

*sI5 44 (Rev. 12/07}

plement the filing and service of pleadings or other
tates in September 1974, is requived for the use of t

e Clerk of

papers as required by law, excep! as provided
ourt for the purpose of initiating

1. (a) PLAINTIFFS

Ryan Intermmaticnal Airlines, Ine,

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES}

Wirnebego, TL

DEFENDANTS

{c) Attomey's (Firm Name, Address, and Telephone Number) 303-623-4500
Wade Warthen ard Bethany A. dctnscn, Franke,
List. & Lippitt IP, 1228 15th St., #200, Demwer, © 8020

NOTE:

Attomeys (IF Known)

County of Residence of First Listed Defendant

Maytag Aircraft Coxporatien

EL Paso,

(TN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.

ll. BASIS OF JURISDICFION

(Place an "4"

in One Box Only)

(For Diversity Cases Only)

WJ, CITIZENSHIP OF PRINCIPAL PARTIES (lace an" in Gue Box for Pail?

add One Box lor Defendant)

OV) US. Government © 3 Federal Question PTF DEF PTF DEF
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of Business In This State
O2- U.S. Government ¥ 4 Diversity Citizen of Another State O02 O 2  Incomporated and Principal Piace MKS O85
Defendant (Indicate Citizenship of Parties in [ers TH) of Business tn Another Stale
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Foreign Country
IV. NATURE OF SUIT (Phace ap OX" in One Box Only) -
CONTRACT. : ao TORTS - TORFELTURE/PENAGTY - - .BANKRUPFCY _ OTHER STATUTES J
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1 120 Marine 310 Airplane C362 Personal Injury - CO 620 Other Foo & Brug O 423 Withdrawal OF 410 Antitrust
1 13) Miller Act 315 Airplane Product Med. Malpractice | 625 Drug Related Sviguye 28 USC 157 T) 430 Banks and Banking
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O 190 Other Contract Product Liability (9 385 Property Damage O 720 LaborMemi. Relations |G 863 DIWC/DIWW (405(g)) 42 USC 3410
O 195 Comract Prodyet Liability {OQ 360 Other Personal Product Liability, OC 730 Labor/MgmLReporting {0 864 SSID Title XV1 O) 890 Other Staniary Actions
01 196 Franchise Injury & Disclosure Act O 865 RSI (405(¢)) O 891 Agricultural Acts
[ REAL PROPERTY —_ CIVIG RIGHTS PRISONER-PETITIONS. {0 740 Railway Labor Aci ~ -REDERAL-TAX SUITS .__|O 892 Economic Stabilization Act
77 210 Land Condemnation C) 441 Voting CO $10 Motions to Vacaig =F 790 Other Labor Litigation O $70 Taxes (U.S, Plaintiff O 893 Environmental Matters
A 230 Foreclosure EF 442 Employment Sentence O 791 Empt. Ret, Inc. or Defendant) O 894 Bnergy Allocation Act
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7) BO Powis bo Land Accommodations $30 General 26 USC 7409 Act
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Employment O $5 Civil Rights © 463 Habeas Corpus - la Justice
C446 Amer. w/Disabilitics - (555 Prison Condition Alien Detainee © 950 Constiuiionality of
Other 0 465 Other Immigration State Statutes
OF 440 Other Civil Rights Actions

¥. ORIGIN

(Place an “X" in One Box Only)

Appeal to District

sai . ' Transferred from a cee Judge from
1 Original ] 2 Removed from O 3. Remanded from (} 4 Reinstatedor OF 5 vo 16 Muitidistict OO 7 wo
Proceeding State Court Appellate Court Reopened another district Litigation tagistrate
B Pp
(specify) Judgement

YI, CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional slatutes unless diversity):
2E_ILS_C,. Section. 1333

Brief description of ¢

ALISE

VH, REQUESTED IN

COMPLAINT:

Negligent Garage to personal property (aircraft)
C CHECK IF THIS IS A CLASS ACTION
UNDER F.R.C.P, 23

DEMAND
75,000+

CHECK YES only if demanded in complaint:

JURY DEMAND:

O Yes O No

VII, RELATED CASE(S)

(See instructions):

IF ANY JUDGE DOCKET NUMBER
DATE 7) SIGRA TURE A ATIORNEYOERECORD ~
08/15/08 (Wa

FOR OFFICE USE ONLY

RECEIPT 4

AMOUNT

APPLYING IFP

JUDGE

MAG. JUDGE

